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AIG Property Casualty    March 26, 2018
PO Box 10006
Shawnee Mission, KS
66225
www.aig.com              Via Email (cgriffin@knightoiltools.com) And Certified Mail-Return
                         Receipt Requested
Stephen Romano
SENIOR ANALYST           Cole Griffin, Esq.
COMPLEX CASUALTY         Knight Oil Tools, Inc.
T 212-458-5375
F 212-857-4855
                         2727 SE Evangeline Thruway
stephen.romano@aig.com   Lafayette, LA 70508-2205


                         Re:    Rippy Oil Company, Rippy Interest LLC, The Genecov Group,
                                Inc. and John D. Proctor v. Knight Oil Tools, Inc. and Pioneer
                                Drilling Company, Leon County District Court Case No.: 0-10-
                                498
                                Insured:           Knight Oil Tools Inc.
                                Insurer:           Chartis Specialty Insurance Company
                                Policy No.:        BE 13074559 (3/31/2010 – 3/31/2011)
                                Our Claim No.:     1346620288us



                         Dear Mr. Griffin:

                         AIG Claims, Inc., a member company of AIG Property Casualty, Inc. (“AIG
                         Claims”), is the authorized representative of Chartis Specialty Insurance
                         Company (“Chartis”), which issued Commercial Umbrella Liability Policy
                         number BE 13074559 effective March 31, 2010 to March 31, 2011 (the
                         “Chartis Policy”) to Knight Oil Tools Inc. (“Knight Oil”).

                         This correspondence concerns the above-referenced lawsuit entitled Rippy
                         Oil Company, Rippy Interest LLC, The Genecov Group, Inc. and John D.
                         Proctor v. Knight Oil Tools, Inc. and Pioneer Drilling Company, currently
                         pending in Leon County District Court, State of Texas under Case No.: 0-10-
                         498 (the “Underlying Action”). As you probably are already aware, I am the
                         adjuster assigned to this matter. Please direct all correspondence relating to
                         this matter to my attention.

                         We would like you to know that we appreciate and value you as a customer
                         and are committed to working closely with you on this matter. We expect that
                         you may have questions after reading this letter regarding our position and
                         the practical impact of our reservation of rights.

                         The purpose of this letter is to advise you of our coverage position under the
                         Chartis Policy for the claims asserted against Knight Oil in the Underlying
                         Action. After you have reviewed this letter, if there is additional information
                         you would like us to consider, please forward it to me at the mailing address
                         or email address listed above. Also, if you have any questions about this
                         letter, please do not hesitate to contact me.

                         Please be advised that we will continue our investigation with respect to
                         coverage of the Underlying Action subject to a full reservation of rights.



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             In considering your request for coverage, we have reviewed the insurance
             policy referenced above. No other policies were considered. If you assert a
             right to coverage under another policy issued by any other member
             company of AIG Claims, please submit notice pursuant to the notice
             provisions contained in that policy.


                                      FACTUAL BACKGROUND

             Based on the information we have received to date, the following sets forth a
             summary of the allegations and other pertinent information. Plaintiff in the
             Underlying Action, an oil and gas exploration company, alleged that it leased
             drill pipe and other equipment from Knight Oil for the purpose of drilling new
             oil wells in the Aguila Vado Field located in Leon County, Texas. During the
             course of drilling a well named Easterling #1-H, it is alleged that a drill pipe
             separation occurred resulting in Plaintiff having to drill a separate sidetrack
             well out of its target zone. Plaintiff further alleged that the separation
             occurred because the drill pipe leased from Knight Oil was defective in that it
             suffered from numerous small cracks on the inside and outside surfaces and
             was excessively corroded. Plaintiff also claimed that the drill pipe supplied
             by Knight Oil failed to conform to its design and specifications as well as its
             represented qualities and characteristics.

             Plaintiff initially commenced the Underlying Action on or about December 23,
             2010. By way of an Amended Petition, Plaintiff’s current causes of action
             against Knight Oil include: 1) negligence; 2) negligent misrepresentation; 3)
             strict liability/product liability; 4) breach of express warranty of goods; 5)
             breach of implied warranty of merchantability and fitness for a particular
             purpose; 6) violations of the Texas Deceptive Trade Practices Act; 7) gross
             negligence; 8) breach of contract; 9) fraud; and 10) aiding and abetting, civil
             conspiracy, concert of action, spoliation and successor liability.


                                        THE CHARTIS POLICY

             Chartis issued Commercial Umbrella Liability policy number BE 13074559 to
             Knight Oil effective March 31, 2010 to March 31, 2011 with limits of $25
             million each occurrence and $25 million general aggregate subject to a
             $10,000 each occurrence self-insured retention. The Chartis Policy sits
             above a primary commercial general liability policy issued by ACE American
             Insurance Company (“ACE”) to Knight Oil effective March 31, 2010 to March
             31, 2011 with limits of $1,000,000 each occurrence and $10,000,000
             general aggregate. The Chartis Policy follows the terms, definitions,
             conditions and exclusions of the primary ACE Policy.
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                                   CHARTIS COVERAGE POSITION

             The Chartis Policy provides that Chartis will “pay on behalf of the Insured
             those sums in excess of the Retained Limit that the Insured becomes legally
             obligated to pay as damages by reason of liability imposed by law because
             of Bodily Injury, Property Damage … to which this insurance applies…”. The
             Retained Limit is defined in relevant part to mean “the total applicable limits
             of Scheduled Underlying Insurance and any applicable Other Insurance
             providing coverage to the Insured.” Paragraph M of “Part IV. Limits of
             Insurance” provides that Chartis “will not make any payment under this
             policy unless and until: 1. The total applicable limits of Scheduled Underlying
             Insurance have been exhausted by the payment of Loss to which this policy
             applies and any applicable, Other Insurance have been exhausted by the
             payment of Loss…”. We currently have no information that the Retained
             Limit has been exhausted by payment of loss. Therefore, the Chartis Policy
             is not implicated by the Underlying Action at this time.

             The Chartis Policy provides that Chartis will pay on the Insured’s behalf
             those sums in excess of the “Retained Limit” that Knight Oil becomes legally
             obligated to pay as damages by reason of liability imposed by law because
             of bodily injury or property damage, only if the bodily injury or property
             damage is caused by an Occurrence and the bodily injury or property
             damage occurs during the policy period. As mentioned above, Plaintiff is
             alleging a number of causes of action against Knight Oil including, breach of
             express warranty of goods, breach of implied warranty of merchantability
             and fitness for a particular purpose, violations of the Texas Deceptive Trade
             Practices Act, breach of contract, fraud, aiding and abetting, civil conspiracy,
             concert of action, spoliation and successor liability.

             Please be advised that claims for breach of contract, breach of warranty and
             declaratory relief which result in economic losses may not satisfy the
             definitions “property damage” caused by an “occurrence”, as those terms are
             defined in the Chartis Policy. There would be no coverage if the claim does
             not involve “property damage” caused by an “occurrence”. As such, Chartis
             reserves its rights to disclaim coverage for the allegations asserting breach
             of contract, breach of express warranty of goods, breach of implied warranty
             or merchantability and fitness for a particular purpose, fraud, violations of the
             Texas Deceptive Trade Practices Act, aiding and abetting, civil conspiracy,
             concert of action, spoliation and successor liability.

             Furthermore, Plaintiff may complain of defective design and workmanship.
             Please be advised that a defect does not constitute "property damage."
             Therefore, to the extent that it is necessary to correct a defect, such
             correction would not be covered under the Chartis Policy.

             Chartis reserves all of its rights pursuant to the terms and conditions of the
             above Chartis Policy, whether or not specifically mentioned herein. Nothing
             in this letter, nor any action taken by Chartis, shall constitute a waiver of any
             such right. Chartis’ investigation of this matter should not be construed as a
             waiver of any rights Chartis may have under the Chartis Policy, the law, and
             in equity, including the right to disclaim coverage, in whole or in part, for this
             claim/suit for any reason whether or not raised in this letter.
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             As noted, Chartis’ coverage position is based upon the information provided
             to it to date. We welcome you to provide any additional information you feel
             may be relevant to our coverage determination. If you receive additional
             information that you believe may affect our coverage determination, please
             forward that information to us as soon as possible.

             If you believe there are any other insurance policies that may respond to this
             claim we urge you to immediately notify those insurance carriers of this claim

             Should you have any questions concerning this matter, please do not
             hesitate to contact the undersigned.

             Very truly yours,




             Stephen J. Romano
             Senior Analyst


             cc:    Via Email (AmyN@poirriergroup.com) And Via Certified Mail –
                    Return Receipt Requested
                    Amy V. Nunez, MBA, CISR
                    POIRRIER GROUP, LLC
                    300 Garfield Street
                    Lafayette, LA 70501
